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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :   MAGISTRATE NO. 21-MJ-044
                                                  :
              v.                                  :
                                                  :
 PATRICK MONTGOMERY,                              :   VIOLATIONS:
                                                  :   18 U.S.C. § 1752(a)(1)
                       Defendant.                 :   (Entering and Remaining in a Restricted
                                                  :   Building)
                                                  :   18 U.S.C. § 1752(a)(2)
                                                  :   (Disorderly and Disruptive Conduct in a
                                                  :   Restricted Building)
                                                  :   40 U.S.C. § 5104(e)(2)(B)
                                                  :   (Entering and Remaining in the Gallery of
                                                  :   Either House of Congress)
                                                  :   40 U.S.C. § 5104(e)(2)(D)
                                                  :   (Violent Entry and Disorderly Conduct at
                                                  :   the Grounds and in a Capitol Building)
                                                  :   40 U.S.C. § 5104(e)(2)(G)
                                                  :   (Violent Entry and Disorderly Conduct at
                                                  :   the Grounds and in a Capitol Building)

                                    INFORMATION

       The United States Attorney charges that:

                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, PATRICK MONTGOMERY,

did knowingly enter and remain in the United States Capitol, a restricted building, without lawful

authority to do so.

       (Entering and Remaining in a Restricted Building, in violation of Title 18, United States
       Code, Section 1752(a)(1))

                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, PATRICK MONTGOMERY,

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engaged in disorderly and disruptive conduct in and within such proximity to,
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the United States Capitol, a restricted building, when and so that such conduct did in fact impede

and disrupt the orderly conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
       United States Code, Section 1752(a)(2))

                                       COUNT THREE

       On or about January 6, 2021, in the District of Columbia, PATRICK MONTGOMERY,

willfully and knowingly entered and remained in the gallery of either House of Congress in

violation of rules governing admission to the gallery adopted by the House and pursuant to an

authorization given by that House.

       (Entering and Remaining in the Gallery of Either House of Congress, in violation of
       Title 40, United States Code, Section 5104(e)(2)(B))

                                        COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, PATRICK MONTGOMERY,

willfully and knowingly engaged in disorderly and disruptive conduct at any place in the Grounds

and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb the orderly

conduct of a session of Congress or either House of Congress.

       (Violent Entry and Disorderly Conduct at the Grounds and in a Capitol Building, in
       violation of Title 40, United States Code, Section 5104(e)(2)(D))




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                                        COUNT FIVE

       On or about January 6, 2021, in the District of Columbia, PATRICK MONTGOMERY,

willfully and knowingly paraded, demonstrated, and picketed in a Capitol Building.

       (Parading, Demonstrating, and Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))

                                            Respectfully submitted,

                                            MICHAEL R. SHERWIN
                                            Acting United States Attorney
                                            N.Y. Bar No. 4444188


                                    By:
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